     Case 2:90-cv-00520-KJM-SCR               Document 4683           Filed 07/08/13        Page 1 of 3


 1     KAMALA D. HARRIS
       Attorney General of California
 2     JONATHAN L. WOLFF
       Senior Assistant Attorney General
 3     JAY C. RUSSELL
       Supervising Deputy Attorney General
 4     DEBBIE J. VOROUS, State Bar No. 166884
       PATRICK R. MCKINNEY, State Bar No. 257644
 5     Deputy Attorney General
        1300 I Street, Suite 125
 6      P.O. Box 944255
        Sacramento, CA 94244-2550
 7      Telephone: (916) 324-5345
        Fax: (916) 324-5205
 8      E-mail: Debbie.Vorous@doj.ca.gov
       Attorneys for Defendants
 9

10
                                   IN THE UNITED STATES DISTRICT COURT
11
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                              SACRAMENTO DIVISION
13

14

15     RALPH COLEMAN, et al.,                                     2:90-cv-00520 LKK JFM PC

16                                                Plaintiffs, STIPULATION AND [PROPOSED]
                                                              ORDER RE: MODIFICATION OF
17                      v.                                    SCHEDULING FOR PLAINTIFFS’
                                                              MOTIONS FOR AFFIRMATIVE RELIEF
18
       EDMUND G. BROWN JR., et al.,                               Judge: Hon. Lawrence K. Karlton
19                                             Defendants.
20

21

22             On May 31, 2013, the parties filed a proposed schedule for completion of discovery and

23     briefing Plaintiffs’ Motion for Enforcement and Court Orders and Affirmative Relief re: Improper

24     Housing and Treatment of Seriously Mentally Ill Prisoners in Segregation (“Segregation

25     Motion”) and Motion for Enforcement of Court Orders and Affirmative Relief Related to Use of

26     Force and Disciplinary Measures (“Use of Force/Discipline Motion”). (ECF No. 4645.) The

27     Court adopted the schedule proposed by the parties except for the date of the status conference to

28     address pre-evidentiary hearing matters, which the Court set for July 25, 2013 at 10:00 a.m.
                                                              1
        Stip. & Proposed Order re: Modification of Scheduling for Pls.’ Mot. Affirm. Relief (2:90-cv-00520 LKK JFM PC)
     Case 2:90-cv-00520-KJM-SCR               Document 4683           Filed 07/08/13        Page 2 of 3


 1     (ECF No. 4646.)
 2             The parties have met and conferred regarding the completion of discovery and briefing on
 3     Plaintiffs’ Segregation Motion and Use of Force/Discipline Motion and, given the length of the
 4     evidentiary hearing held on Plaintiffs’ motion concerning the inpatient programs operated by the
 5     Department of State Hospitals, request the following modifications of the discovery and briefing
 6     schedule:
 7             1.       The deadline by which Defendants shall file and serve their opposition to
 8     Plaintiffs’ Segregation Motion and Use of Force/Discipline Motion shall be July 24, 2013.
 9     Defendants shall serve Plaintiffs with declarations of their expert witnesses no later than July 17,
10     2013.
11             2.       Plaintiffs’ reply briefs in support of said motions shall be filed and served no later
12     than August 9, 2013.
13             3.       Plaintiffs may take depositions of Defendants’ witnesses in advance of the filing of
14     their reply briefs.
15             The parties do not request any further modifications to the Court’s scheduling order
16     except regarding the July 25, 2013 status conference to address the pre-evidentiary hearing
17     matters. Because Defendants’ opposition is now due on July 24, 2013, the parties request that the
18     Court postpone the status conference to the following week.
19             SO STIPULATED
20             Dated: July 8, 2013                                By:      /s/ Debbie Vorouos
                                                                        Debbie J. Vorous
21                                                                      Office of the Attorney General
                                                                        Attorneys for Defendants
22

23
               Dated: July 8, 2013                                By:      /s/ Michael Bien
24                                                                      Michael Bien
                                                                        Rosen Bien Galvan & Grunfeld LLP
25                                                                      Attorneys for Plaintiffs
26

27

28
                                                              2
        Stip. & Proposed Order re: Modification of Scheduling for Pls.’ Mot. Affirm. Relief (2:90-cv-00520 LKK JFM PC)
     Case 2:90-cv-00520-KJM-SCR               Document 4683           Filed 07/08/13        Page 3 of 3

               SO ORDERED
 1
               The above stipulation is the Order of this Court
 2

 3
               Dated: July ___, 2013
 4

 5                                                                ______________________________
                                                                  Lawrence K. Karlton
 6                                                                Senior United State District Judge
                                                                  Eastern District of California
 7

 8     CF1997CS0003
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                              3
        Stip. & Proposed Order re: Modification of Scheduling for Pls.’ Mot. Affirm. Relief (2:90-cv-00520 LKK JFM PC)
